           Case 2:05-cr-00542-GEB Document 107 Filed 01/04/08 Page 1 of 2


 1   ALEX R. KESSEL (State Bar No. 110715)
     16000 Ventura Blvd.
 2   Penthouse Suite 1208
     Encino, California 91436-2746
 3   Telephone: (818) 995-1422
     Facsimile: (818) 788-9408
 4   Email: kessellaw@sbcglobal.net
 5   Attorney for Defendant
     NAM PHAMTRAN
 6
 7
                                  UNITED STATES DISTRICT COURT
 8
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
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10
     UNITED STATES OF AMERICA,                       )   CASE NO.: 2:05-CR-542-GEB
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                           Plaintiff,                )   STIPULATION RE: PERMISSION
12                                                   )   FOR DEFENDANT TO LEAVE
     vs.                                             )   CENTRAL DISTRICT JURISDICTION;
13                                                   )   ORDER THEREON
     NAM PHAMTRAN,                                   )
14                                                   )
                           Defendant.                )
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              IT IS HEREBY STIPULATED, by and between plaintiff, the UNITED STATES OF
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     AMERICA, and defendant NAM PHAMTRAN, through his counsel of record that:
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              1.    Defendant Nam Phamtran be permitted to leave the jurisdiction of the Central
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     District for business to Las Vegas, Nevada, from January 5, 2008, to January 6, 2008, for a period of
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     two days;
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              2.    Defendant Nam Phamtran, upon arriving in Las Vegas, Nevada shall contact his
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     pretrial services officer, TODD SAUBER (714) 338-4562 , and advise him of the defendant's
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     location of residence and telephone number in Las Vegas, Nevada; and
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              3.    Defendant Nam Phamtran, upon return to his place of residence in the Central
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     District shall contact his pretrial services officer, TODD SAUBER (714) 338-4562, and advise him
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     of defendant’s return from Las Vegas, Nevada.
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     ///

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       Case 2:05-cr-00542-GEB Document 107 Filed 01/04/08 Page 2 of 2


 1   DATED: January 2, 2008
 2
 3                                                 /S/ Alex R. Kessel
                                               ALEX R. KESSEL
 4                                             Attorney for Defendant,
                                               NAM PHAMTRAM
 5
 6   DATED: January 2, 2008
 7
 8
                                                      /S/ Matthew Stegman
 9                                             MATTHEW STEGMAN
                                               Assistant United States Attorney
10                                             for Plaintiff, UNITED STATES OF AMERICA
11
                                        ORDER
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           GOOD CAUSE APPEARING, IT IS SO ORDERED.
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14   Dated: January 4, 2008

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16                                    GARLAND E. BURRELL, JR.
                                      United States District Judge
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